56 F.3d 71wNOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.
    FLEET CREDIT CORPORATION, a Rhode Island Corporation,Plaintiff-Appellee,v.TML BUS SALES, INC., Applicant-Appellant.
    No. 93-17218.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted May 11, 1995.Decided May 23, 1995.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    